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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                   8:09CR26
                                          )
             v.                           )
                                          )
MICHAEL PERKINS,                          )                    ORDER
                                          )
                    Defendant.            )
                                          )


      Before the court is the Request for Transcript by a Nonparty, Filing No. 123. After
considering the matter,

      IT IS ORDERED:

      1.     The Request for Transcript (Filing No. 123) is granted, as outlined below.

      2.    The nonparty petitioner must contact court reporter Allan Kuhlman at (402)
661-7302 to make arrangements for the preparation and payment of the transcript.

      3.    The Clerk’s Office is ordered to mail a copy of this order to the nonparty’s
address pursuant to Filing No. 123.

      DATED this 12th day of March, 2012.

                                         BY THE COURT:



                                         s/ Joseph F. Bataillon
                                         United States District Judge
